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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

QUINTON CAVER, WILLIE H. SMITH, EL               §
III, AND UNITED STATES,                          §
                                                 §
       Plaintiffs,                               §
                                                 §       Civil Action No. 4:20-cv-01299
v.                                               §
                                                 §
LSF6 MID-SERVICER HOLDINGS, LLC,                 §
LSF6 SERVICE OPERATIONS, LLC,                    §
CALIBER HOME LOANS, INC., AND                    §
BARRETT, DAFFIN, FRAPPIER, TURNER                §
& ENGEL, LLP,                                    §
                                                 §
       Defendants.                               §

               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY stipulated and agreed by and among Plaintiffs, Quinton Caver, Willie H.

Smith, El III, and the “United States” (collectively, “Plaintiffs”), and Defendants, LSF6 Mid-

Servicer Holdings, LLC, LSF6 Service Operations, LLC, Caliber Home Loans, Inc., and Barrett,

Daffin, Frappier, Turner & Engel, LLP (collectively, “Defendants”) (each, a “Party”;

collectively, the “Parties”), that all of Plaintiff’s claims asserted or which could have been

asserted by Plaintiffs against Defendants in the above-referenced lawsuit are to be DISMISSED

WITH PREJUDICE pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii).

       The Parties agree that this Joint Stipulation of Dismissal with Prejudice shall be effective

upon filing of same with the Clerk of the Court in the above-styled and numbered proceeding;

and, would further move the Court for entry of the Parties’ proposed Order Granting Joint

Stipulation of Dismissal with Prejudice.




JOINT STIPULATION OF DISMISSAL WITH PREJUDICE                                         PAGE 1 OF 2
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RESPECTFULLY SUBMITTED AND AGREED:

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Plaintiff, Pro-se                                 ATTORNEYS FOR DEFENDANTS,
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By: /s/ Willie H. Smith, El III (with permission) LSF6 SERVICE OPERATIONS, LLC, AND
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JOINT STIPULATION OF DISMISSAL WITH PREJUDICE                                    PAGE 2 OF 2
